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    EXHIBIT C
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                                                                                                                   Ryan J. McGee
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                                                       October 29, 2021

VIA ELECTRONIC MAIL

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Re: Anibal Rodriguez, et al., v. Google LLC
Case No. 3:20-cv-04688-RS

Counselors:

Attached as Appendix A are the Android Adid’s (i.e., their GAIDs under the Google Ads
services) values you requested on October 27, 2021, for named Plaintiffs with Android devices
to permit Google to locate Plaintiffs’ app instance identifiers and retrieve their associated GA for
Firebase app measurement logs. We are designating them as confidential.

We provide these values in furtherance of ongoing discovery disputes, but reserve all objections
to your methodology and disagree that you do not have other ways to locate Plaintiffs’ data and
identifier values with previously produced information and Google’s plethora of tools, logs, and
raw data stored.

Please also accompany the production with an explanation of what sources and logs you
searched, and how you searched them. As part of that, please identify all data sources and logs
where these values and their variants could be stored.

Thank you,

Ryan J. McGee

Ryan J. McGee
                             ForThePeople.com |        201 N. Franklin St., 7th Floor, Tampa, FL 33602 |     813.223.5505


 AL, AK, AZ, AR, CA, CO, CT, DE, FL, GA, HI, ID, IL, IN, IA, KS, KY, LA, ME, MD, MA, MI, MN, MS, MO, MT, NE, NV, NH, NJ, NY, NC, OH, OK, OR, PA, RI,
                                                    SC, SD, TN, TX, UT, VT, VA, WA, WV, WI, WY
